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         Exhibit 1
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           BITCOIN & CRYPTO
           FINANCIAL FORENSICS
           PROFESSOR J.W. VERRET, JD, CPA/CFF, CFE, CVA, CCFI
           ASSOCIATE PROFESSOR, GEORGE MASON UNIVERSITY SCHOOL OF LAW




  STANDARD FORENSIC PRINCIPLES

  • Standards of Forensic Accounting (CPA/CFF certification)
  • Standards of Fraud Examination (CFE certification)
  • Principles for Certified Cryptocurrency Forensic Investigators (CCFI certification)
  • Published Professor of Banking Law, Forensic Accounting, Securities & Corporate Law
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  DID STERLINGOV RECEIVE BITCOIN FOG FEES?

  Financial Forensic standard tools available include:
      • Net Worth/Income Indirect Analysis
      • Presence of Unexplained Assets
      • Correlation/Pattern Analysis
      • Money Laundering Habits/Typology
      • Crypto Privacy Behavior Patterns




  EARLY ADOPTER

  • Early Bitcoin buyers and adopters experienced incredible returns.
  • Mr. Sterlingov began buying Bitcoin 13-14 years ago.
  • He used peer-to-peer transactions and paper wallets.
  • Early user of privacy tools like Bitcoin Fog.
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  BITCOIN VALUE OVER TIME




  BITCOIN PIZZA DAY

  • May 22, 2010 - Bitcoin Pizza Day
  • 2 Pizzas bought for 10,000 BTC
  • $480,000,000 Pizza today
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  MR. STERLINGOV INCOME AND ASSETS

  • 2010-2011 Bitcoin as low as $0.40
  • 2707 BTC - Glave estimate




  PERSONAL PRIVACY

  • Safety
  • Most mixing is for Personal Privacy
  • OpSec
  • Mixing Report
  • Professional Responsibility
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  FORENSIC INTERVIEWS

  • 2010-2012 – Cash Transactions
  • Up to $1000
  • Dozens of Bitcoin Meetups
  • Hundreds of Bitcoin at a time




  ASSETS

  • Blocket
  • Travel
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  ASSESSING CREDIBILITY

  • KYC
  • Gift Cards
  • XBT vs. BTC
  • Co-operators




  NO MONEY LAUNDERING

  • 5 Reasons
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  #1 – POST MIX KYC



  • Operator of Bitcoin Fog is smarter than that.
  • Gift Cards
  • Prepaid Phone Cards




  #2 - MYSTERY OF THE MISSING BITCOIN

  • Expected Assets of the True Bitcoin Fog Operator
  • 24,000 to 36,000 BTC – What Bitcoin Fog Operator Has
  • $1,150,000,000 ($1.15 Billion) to $1,608,000,000 ($1.6 Billion)
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  #3 – TO THE MOON / BITCOASTER VENTURES

  • Failed Business
  • Minimal Cash-Flow
  • Never functional
  • Not a front for money laundering




  #4 – CODE REACTOR

  • Freelance Work
  • Invoices
  • Client Privacy
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   #5 – “PUTTING” MONEY

   • Mt. Gox to Aurum Exchange to Liberty Reserve = Common Practice
   • Numerous Bitcoin Talk “Putting” Posts
   • Best fix for the problem




   NO BITCOIN FOG FEES

   • -3% Variable Fee
   • Missing math
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   BITCOIN FOG CASH FLOW

   • .2 Million Bitcoin
   • -3% Variable Fee




   GRAND TOTALS

   • ~$,000,000,000 -$,300,000,000 – What Bitcoin Fog Operator has
   • <$2 million – Estimate of Mr. Sterlingov ‘s maximum total
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   MISSING BITCOIN

   • 9,939 BTC
   • 7.3 x more than 2707




   DO THE MATH

   • Bitcoin Fog Operations Proceeds Accounting
   • BTC Processed by Fog alleged by Government       ,200,000 BTC
   • Fee Rate Estimate 2.0% (conservative, could stretch to 3%)
   • Total Fees Received By Operator        24,000 BTC (conservative, may stretch toward 36,000 BTC)
   • Govt Est. of Sterlingov Bitcoin Sourced From Bitcoin Fog     2707 BTC (implied under Glave estimate)
   • Approximate BTC Remaining in the Bitcoin Fog Cluster         354 BTC
   • “Proceeds” Unaccounted For          9,939 BTC (worth $957 million at the Feb  $48,000
     price, worth $1.34 Billion at Bitcoin’s price peak of $67,000 in 202)
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   PATTERN CORRELATION ANALYSIS

   • No correlation
   • Early Bitcoin adopter
   • Early Bitcoin Fog user
   • 2014 price spike
   • Consolidates Bitcoin to KYC Exchanges
   • No more paper wallets




   SUMMARY – NO BITCOIN FOG SERVICE FEES

       • Insufficient evidence for Net Worth/Net Income Indirect Analysis
       • Lack of Substantial Unexplained Assets (Relative to Bitcoin Fog total fees at one point valued
         at over $.34 BILLION, presently valued at $957 MILLION)
       • Lack of Pattern Correlation Between BTC Fog fees and Sterlingov Bitcoin activity
       • Sterlingov’s early bitcoin wealth
       • Use of privacy tool common
       • No money laundering pattern
       • Sending post-mix tokens to KYC Kraken accounts
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   BITCOIN TRACING UNRELIABLE

   • Private Key Problem
   • Tracing is an unreliable attribution method
   • Scientific Peer-Reviewed Doubts
       • Analyzing the Error Rates of Bitcoin Clustering Heuristics – Yanan Gong et al.
            • 50-90% Error Rates

   • No Government Standards or Regulation




   CONCLUSION

   • No financial forensic evidence that Mr. Sterlingov operated Bitcoin Fog
